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Western District of Tennessee ,'gd 544 _,
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United States of America )
)
vs )
)
Charles Franl<lin Grubb ) Case No. 05-20047-001

CONSENT TO MODIFY CONDlTIONS OF RELEASE

I, Charles Franklin Grubb, have discussed With Loretta F]eming, Pretrial Services/Probation
Of`ficer, modification of my release conditions as follows:

l) Refrain from possessing a firearm, destructive device, or other dangerous weapon

I consent to this modification of my release conditions and agree to abide by this modification

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\c Q\O,U 41 2 7 §§ » r2 7 Q)
Signature of` Def`cndantU Datc Prctrial Scrvices/Probation Ofiicer Date

 

 

 

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[/M above modification of` conditions of release is ordered, to be effective on l lQ-F 2 95

[ ] The above modification of conditions of release is n_ot ordered

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Signaturc of Judicial Ot`ticer Date

s ' cccment entered on the docket sheet' m compiiance
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ENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 8 in
case 2:05-CR-20047 Was distributed by f`aX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

